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UNITED sTATES DISTRICT CoURT " '=ii-;¥?~`i`D-*#`-
FoR THE WESTERN DISTRICT oF TENNESSEE 95 JUH -'__2__ “
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‘ = y ._F.C}. '
Piainiiff,
v. Civil Action No. 04-3()43 B/V

UNIFlRST CORPORATION, INC.,

Defend ant.

 

I@] 0RDER GRANTING MoTIoN FoR AI)MISSION PRo HAC VICE

 

Bel`ore this Court is the Motion for Adrnission Pro Hac Vz'ce of Bradford J. Smith. Mr.
Smith is a member in good standing of the bar of the State of Massachusetts and admitted to
practice before the United States District Court for the District of Massachusetts. Counsel has
obtained and is familiar with the local rules and professional guidelines of this Court. For good
cause shown, the Motion is granted and Bradford J . Smith is admitted to participate in this action
as counsel for Un.iFirst Corporatio nc.

IT IS SO ORDERED this day ofjune, 2005.

@r) sTATEs DlsrRrCr JUDGE

 

ESTRN D

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CV-03043 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

